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                           No. 23-10362
__________________________________________________________________
        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


            ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                       Plaintiffs-Appellees,
                                 v.
            U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                      Defendants-Appellants
                                and
                    DANCO LABORATORIES, LLC,
                       Intervenor-Appellant


          On Appeal from the United States District Court
                for the Northern District of Texas
                        No. 2:22-cv-00223-Z


 PLAINTIFFS’ OPPOSITION TO AN EMERGENCY STAY PENDING APPEAL


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                  CERTIFICATE OF INTERESTED PERSONS

           Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug
                               Administration, et al.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluate possible disqualification or recusal.

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       INTRODUCTION AND SUMMARY OF ARGUMENT

     The FDA and Danco—mifepristone’s main purveyor—ask this

Court to set aside a meticulously considered administrative stay the

district court found necessary to prevent irreparable harm. That court’s

order paints an alarming picture of decades-long agency lawlessness—

all to the detriment of the women and girls FDA is charged to protect. It

describes an agency that has repeatedly put politics above women’s

health, demonstrating callous disregard for women’s well-being, unborn

life, and statutory limits. Across decades, FDA has persisted in its

unlawful activity, continually removing necessary safeguards.

     Ignoring all these harms and their own stonewalling of judicial

review for nearly 20 years, Defendants ask this Court to award them

emergency equitable relief that would perpetuate FDA’s unlawful mail-

order abortion regime and result in further harms from a dangerous

drug the district court found should never have been approved. But

Defendants meet no requirements for emergency relief.

     At the outset, Defendants have not made the requisite “strong

showing” of success on the merits. Nken v. Holder, 556 U.S. 418, 426

(2009). As the district court concluded, it is Plaintiffs, not Defendants,



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who are likely to prevail. Defendants admit that pregnancy is not an

illness and cannot prove mifepristone provides a therapeutic benefit—

the two prerequisites for FDA’s approval here. And FDA’s mail-order

approval flagrantly violates the Comstock Act.

     Nor have Defendants shown irreparable harm absent a stay. The

public has no interest in maintaining unlawful agency action. And the

order merely removes mifepristone from the mails and the market;

abortion will still be available in states that permit it.

     Conversely, a stay would perpetuate substantial harm on the

public. The district court determined that chemical abortions: (1) “are

over fifty percent more likely than surgical abortion to result in an

emergency room visit within thirty days,” (2) increased emergency room

visits attributable to abortion “by over five hundred percent between

2002 and 2015,” (3) caused a “fourfold higher” incidence of adverse

events when compared to surgical abortions, and (4) resulted in 53% of

women taking the drug reporting “a negative change” in their well-

being. FDA.Add.45–47. And those statistics do not reflect thousands of

harmed women who were never counted because FDA inexplicably

discontinued reporting for mifepristone’s non-fatal adverse effects.



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     Finally, the equities weigh heavily in favor of continuing the

district court’s stay. The district court found that the government has

engaged in decades’ long obfuscation and delay. And FDA’s failure to

abide by federal law has resulted in the death of “many” women and a

serious physical and emotional toll—a toll minimized by FDA’s

“systematic” concealment. FDA.Add.29 n.22, 58–59.

     For all these reasons, the district court did not abuse its discretion

in entering an administrative stay under Section 705 of the

Administrative Procedure Act, and it is the government’s stay request

that is “extraordinary and unprecedented,” not the district court’s

ruling. FDA.Mot.8. This Court should deny Defendants’ motions for stay

of the district court’s April 7 Order (Dkt.137) (“Order”) pending appeal.

                           JURISDICTION

     Defendants assume this Court has jurisdiction to review the

district court’s order under 42 U.S.C. § 1292(b). But that provision

applies to orders granting preliminary injunctions. The lower court here

did not grant an injunction but an administrative stay. As explained in

Appellees’ concurrently filed motion to dismiss, this Court lacks juris-

diction to hear an appeal as of right or Defendants’ motion for stay.



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                            BACKGROUND

     The FDA’s chemical abortion regimen requires two drugs:

mifepristone (also known as “RU-486” and “Mifeprex”) and misoprostol.

FDA.Add.84. Mifepristone is a synthetic steroid that blocks nutrition to

the unborn baby, starving the baby to death. Id. Misoprostol induces

contractions to expel the dead baby from the mother’s womb.

FDA.Add.84–85.

     During the early 1990s, the Population Council—a nonprofit

founded to address world “overpopulation”—obtained mifepristone’s

U.S. patent rights. FDA.Add.100–01. After the Council filed a new drug

application (NDA) with FDA, it granted to Defendant Danco Labora-

tories—a Cayman Islands-based company with no other pharmaceutical

products—an exclusive license to manufacture, market, and distribute

mifepristone in the U.S. FDA.Add.109.

     The FDA fast-tracked mifepristone’s approval under Subpart H, a

regulation that authorizes accelerated approval of new drugs that safely

and effectively treat “serious or life-threatening illnesses” and “provide

[a] meaningful therapeutic benefit to patients over existing treatments.”

21 C.F.R. § 314.500. To mitigate acknowledged, serious, and adverse



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complications, the FDA’s 2000 Approval imposed a seven-week gesta-

tional limit, limited prescribing authority to physicians, and required

three in-person office visits: (1) the Day 1 in-person dispensing and

administration of mifepristone; (2) the Day 3 in-person dispensing and

administration of misoprostol; and (3) the Day 14 office visit to confirm

no fetal parts or tissue remain. FDA.Add.182–83, 186, 189. Abortion

providers were required to report all adverse events. FDA.Add.186.

     In 2002, Plaintiffs AAPLOG and CMDA timely filed a citizen

petition with FDA challenging the 2000 Approval (2002 Citizen

Petition). Alliance.Add.151–246. Fourteen years later, FDA rejected the

2002 Citizen Petition (2016 Petition Denial). FDA.Add.804–36. The

same day, FDA approved “major changes” to the chemical abortion drug

regimen, eviscerating crucial safeguards (2016 Major Changes).

FDA.Add.768–75. The agency increased the maximum gestational age

from seven to ten weeks gestation; reduced the number of required in-

person office visits from three to one; allowed non-doctors to prescribe

and administer chemical abortions; and eliminated non-fatal adverse

event reporting. FDA.Add.778.




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     In March 2019, Plaintiffs AAPLOG and ACPeds timely filed

another citizen petition challenging the 2016 Major Changes (2019

Citizen Petition). FDA.Add.192–218.

     In April 2021, FDA stated it would “exercise enforcement discre-

tion” and allow “dispensing of mifepristone through the mail … or

through a mail-order pharmacy” during the COVID pandemic (2021

Non-Enforcement Decision). Alliance.Add.249. The FDA took this action

even though the Comstock Act expressly prohibits distribution of

chemical abortion drugs by mail, express company, or common carrier.

Then, on December 16, 2021, FDA denied almost all the 2019 Citizen

Petition (2021 Petition Response). FDA.Add.876. The FDA rejected the

2019 Citizen Petition’s request to keep the in-person dispensing

requirements and announced it would permanently allow abortion by

mail. FDA.Add.842.

                       STANDARD OF REVIEW

     An emergency stay is an “extraordinary remedy.” Texas v. United

States, 40 F.4th 205, 215 (5th Cir. 2022) (per curiam) (cleaned up). A

party is not entitled to a stay as a “matter of right, even if irreparable

injury might otherwise result.” Tex. Democratic Party v. Abbott, 961



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F.3d 389, 397 (5th Cir. 2020) (cleaned up). Rather, an applicant for an

emergency stay pending appeal must convince the reviewing court to

exercise its equitable power based on four factors: “(1) whether the

applicant has made a strong showing of likelihood to succeed on the

merits; (2) whether the movant will be irreparably harmed absent a

stay; (3) whether issuance of a stay will substantially injure other

interested parties; and (4) where the public interest lies.” Vote.Org v.

Callanen, 39 F.4th 297, 302–03 (5th Cir. 2022) (cleaned up). The last

two factors merge when the Government is the appealing party. Id. at

309. This Court reviews a grant of equitable relief for an “abuse of

discretion.” Sepulvado v. Jindal, 729 F.3d 413, 417 (5th Cir. 2013). “The

district court’s findings of fact are reviewed for clear error and its legal

conclusions de novo.” Texas, 40 F.4th at 215.

     As noted, because the district court granted an administrative

stay, not a preliminary injunction, this Court lacks interlocutory

appellate jurisdiction and should leave in place the district court’s

ruling.




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                                 ARGUMENT

I.    Plaintiffs’ claims satisfy Article III and are properly before
      this Court.

      A.     Plaintiffs satisfy Article III.

      The FDA and Danco recycle Clapper v. Amnesty Int’l USA, 568

U.S. 398 (2013), to argue that Plaintiffs have not shown a sufficiently

concrete injury. But the district court correctly determined that

Plaintiffs satisfy Article III’s injury-in-fact requirement in multiple

ways.1

      1. The district court correctly held that Plaintiff Medical

Associations have organizational standing because, in response to

FDA’s approval and deregulation of mifepristone, they “diverted

valuable resources away from [their] advocacy and educational efforts”

to inform their members, patients, and the public about the dangers of

chemical abortion drugs “to the detriment of other priorities and func-

tions.” FDA.Add.13; accord OCA-Greater Houston v. Texas, 867 F.3d

604, 610–12 (5th Cir. 2017) (nonprofit had organizational standing after




1Danco suggests that the lower court broadly applied the wrong standard.
Danco.Mot.6. Not so. In the organizational standing section, the court noted that
allegations were viewed liberally. FDA.Add.12. But viewed liberally or strictly,
Plaintiffs’ allegations satisfy Article III.

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spending “additional time and effort” explaining the new law, which

“frustrate[d] … its routine … activities”). Additionally, Plaintiffs spent

significant amounts of time on their citizen petitions. FDA.Add.70–74,

109–15, 127–30, 157–59.

     The FDA takes issue with organizational standing writ large.

FDA.Mot.8. But this Court’s cases clearly teach that an organization

has standing if it has “proven a drain on its resources resulting from

counteracting the effects of the defendant’s actions.” La. ACORN Fair

Hous. v. LeBlanc, 211 F.3d 298, 305 (5th Cir. 2000).

     Danco complains Plaintiffs cannot claim organizational standing

because they oppose abortion—and thus all its current efforts are on

“mission.” Danco.Mot.8. But by this logic, none of the organizations

devoted to promoting voting rights would have been allowed to

challenge alleged voting restrictions—that too would have been on

mission. See, e.g., Tex. State LULAC v. Elfant, 52 F.4th 248 (5th Cir.

2022). Here, because of FDA’s lawless actions, the organizations

diverted resources from their routine functions to educate the public

about the dangers of chemical abortion, and to advocate for protecting

conscience rights, and promoting the value of human life. FDA.Add.158.



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     2. The district court also correctly held that Plaintiff Medical

Associations have associational standing to sue on behalf of their

members because they allege that: (1) “adverse events from chemical

abortion drugs can overwhelm the medical system”; (2) these emergen-

cies “consume crucial limited resources, including blood for transfu-

sions, physician time and attention, space in hospital and medical

centers, and other equipment and medicines”; (3) force doctors into

situations “in which they feel complicit in the elective chemical abortion

by needing to remove a baby with a beating heart or pregnancy tissue

as the only means to save the life of the woman or girl”; (4) and “prevent

Plaintiff doctors from practicing evidence-based medicine,” which harms

the doctor-patient relationship and causes “Plaintiffs to face increased

exposure to allegations of malpractice and potential liability, along with

higher insurance costs.” FDA.Add.7–8.

     The FDA discounts Plaintiffs’ allegations about treating women

harmed by mifepristone as “a handful of alleged incidents … none of

which meaningfully interfered with a member’s medical practice.”

FDA.Mot.7. The FDA is wrong. Plaintiffs’ declarations attest that they

“often” treat patients suffering adverse complications from chemical



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abortions—several doctors treating emergency medical conditions

caused by chemical abortion a dozen times, or more. Alliance.Add.006–

07, 014–19, 026–27, 033–34. And Defendants concede the existence of

adverse events related to chemical abortion drugs. Alliance.Add.055. In

a dozen different cases, Dr. Skop has been required to perform

emergency surgery to remove embryos, fetuses, and pregnancy tissue.

Alliance.Add.012–20. Several doctors detail interference with their

medical practice and the need to call in an additional doctor to cover

other patients while they treated emergency complications from

mifepristone. Alliance.Add.006, 019, 025–28, 091–92, 106. And three

doctors state that they were faced with emergency situations and forced

to complete elective abortions because women were suffering life-

threatening conditions from mifepristone, even though this violated

their most deeply held beliefs.2 Alliance.Add.005–007, 016–019, 111.

      3. The lower court also correctly held that Plaintiffs can assert

third-party standing because their physician–members’ patients:



2This case is unlike one where a doctor refuses to treat an asthmatic child because
of objections to environmental regulations. Danco.Mot.8. Rather, Plaintiff Medical
Associations’ members “oppose being forced to end the life of a human being in the
womb for no medical reason, including by having to complete an incomplete elective
chemical abortion.” FDA.Add.153.

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(1) have “endure[d] many intense side effects,” “suffer[ed] significant

complications requiring medical attention,” and “suffer[ed] distress and

regret”; (2) have a “close relation” to the physician–members; and

(3) are hindered from “protect[ing] their [own] interests.” FDA.Add.9.

     Defendants do not contest that women sometimes suffer injuries

and might be hindered from bringing suit. Instead, Danco suggests that

Plaintiff doctors disavowed a “close relationship” with their emergency

patients. Danco.Mot.6–7. Not so. Plaintiffs simply explained that they

often had no previous relationship with a patient suffering emergency

and often life-threatening complications from a chemical abortion. As

this Court’s abortion jurisprudence makes clear, a previous relationship

is not the sine qua non of a close relationship. Jackson Women’s Health

Org. v. Dobbs, 945 F.3d 265, 275 (5th Cir. 2019), rev’d and remanded,

142 S. Ct. 2228 (2022) (allowing abortion facility to pursue claims on

behalf of patients); 13A Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 3531.9.3 (3d ed. 2022) (“Doctors

regularly achieve standing to protect the rights of patients and their

own related professional rights.”).




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     4. Plaintiffs’ claims are sufficiently concrete and imminent. As the

district court held, Clapper is distinguishable because no plaintiff there

had ever suffered an injury. FDA.Add.14–15. Here, as the lower court

found, FDA’s mail-order abortion regime all but guarantees Plaintiffs

will again treat women suffering complications from chemical abortion.

     Recent cases make clear what Clapper explained in footnote five,

that a material risk of future harm can suffice “so long as the risk of

harm is sufficiently imminent and substantial.” TransUnion LLC v.

Ramirez, 141 S. Ct. 2190, 2210 (2021); Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 158 (2014) (“An allegation of future injury may

suffice if the threatened injury is ‘certainly impending,’ or there is a

‘substantial risk’ that the harm will occur.”) (cleaned up); Massachusetts

v. EPA, 549 U.S. 497, 525 n.23 (2007).

     B.    Plaintiffs’ claims are reviewable.

     The FDA does not dispute that Plaintiffs’ challenge to the 2000

Approval is timely if the district court correctly held that the 2016

Major Changes and the 2021 Petition Denial reopened that decision.

FDA.Mot.10. FDA argues that all the 2016 Major Changes did was

“relax[ ]” REMS (“risk evaluation and mitigation strategies”) conditions.



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But those changes altered nearly every requirement—each one having

been determined to be a precondition for approval. FDA.Add.21–22. The

2016 changes—self-described by FDA as major—affected a “sea change”

in the regulatory scheme, thus reopening the matter and restarting the

limitations period.3 See Sierra Club v. EPA, 551 F.3d 1019, 1025 (D.C.

Cir. 2008). So too for the “2021 Actions” which removed the “in-person

dispensing requirement,” dramatically reducing the chance a prescriber

can “confirm gestational age, discover ectopic pregnancies, and identify

a victim of abuse or human trafficking being coerced into having a

chemical abortion.” FDA.Add.22.

      The district court also correctly found that equitable tolling was

appropriate given FDA’s decades-long pattern of delay and obfuscation.

FDA.Add.24. As the court explained, “[i]t took FDA 13 years, 7 months,

and 9 days to respond to the 2002 Petition. The FDA then moved the

goalposts by substantially changing the regulatory scheme on the same

day.” Id.




3The FDA protests that Plaintiffs did not challenge the 2000 Approval in its 2019
Citizen Petition. But exhaustion would have been “futile because the administrative
agency w[ould] clearly reject the claim.” Gulf Restoration Network v. Salazar, 683
F.3d 158, 176 (5th Cir. 2012).

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      For similar reasons, Plaintiffs’ efforts to exhaust would surely

have been “futile because the administrative agency will clearly reject

the claim.” FDA.Add.28 (quoting Gulf Restoration Network v. Salazar,

683 F.3d 158, 176 (5th Cir. 2012); accord Gardner v. Sch. Bd. Caddo

Par., 958 F.2d 108, 112 (5th Cir. 1992). Exhaustion was also excused

because the agency was acting contrary to public policy, patently

contrary to law, and in a way likely to result in individual injustice.

FDA.Add.28–30.


II.   Defendants have not made a strong showing that they are
      likely to succeed on the merits.

      To obtain a stay pending appeal, Defendants must make “a strong

showing of likelihood to succeed on the merits.” Vote.Org, 39 F.4th at

302. This is “arguably the most important factor.” Robinson v. Ardoin,

37 F.4th 208, 227 (5th Cir. 2022) (per curiam) (cleaned up). Defendants

cannot meet their heavy burden merely by showing “a substantial case

alone.” Tex. Democratic Party, 961 F.3d at 397 (cleaned up). Rather, the

district court correctly held that Plaintiffs are likely to succeed on the

merits.




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     A.    The FDA violated Subpart H’s requirements.

     The FDA justified accelerated approval of the chemical abortion

drugs under 21 C.F.R. § 314, Subpart H. That provision required FDA

to find that pregnancy was a “serious or life-threatening illness,” and

that the chemical abortion drugs would give women a “meaningful

therapeutic benefit” over surgical abortion. Both conclusions were

wrong.

           1.    Pregnancy is not an illness.

     Subpart H applies only to drugs that “treat[ ] serious or life-

threatening illnesses.” But pregnancy is not an illness. As the district

court concluded, pregnancy is “a natural process essential to

perpetuating human life” that “most women experience one or more

times during their childbearing years.” FDA.Add.40 (emphasis added).

Even Defendants concede that. FDA.Add.117–18; FDA.Mot.20.

     The agency argues that Subpart H also applies to “life-threatening

conditions,” a category to which FDA contends pregnancy belongs. But

nowhere does the final rule list “life-threatening conditions.” That

language instead comes from Subpart H’s preamble, and language in a




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preamble cannot override the final rule’s unambiguous text. Cuomo v.

Clearing House Ass’n, 557 U.S. 519, 533 (2009).

     Nor can agency deference stretch that language to cover what

Subpart H plainly says. Courts defer to agencies’ interpretations of

their own regulations only when those regulations are “genuinely

ambiguous” and cannot be resolved using “all the traditional tools of

construction.” Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019). Yet Subpart

H is “plain and unambiguous.” FDA.Add.43. “Illness” has an ordinary

meaning denoting “sickness,” an “unhealthy condition,” or “a particular

abnormal condition.” Id. Pregnancy is none of those things. In fact,

pregnancy is the opposite: a “natural process” that “most women

experience.” FDA.Add.40.

     The FDA’s interpretation is also unreasonable. As the district

court noted, sometimes complications arise during pregnancy that may

be serious or life-threatening. FDA.Add.44. “But that does not make

pregnancy itself an illness.” Id.

           2.    Chemical abortion drugs offer no “meaningful
                 therapeutic benefit” over surgical abortion.

     Subpart H’s accelerated approval process also applies only to

drugs that provide a “meaningful therapeutic benefit” to patients over


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“existing treatments.” For two reasons, chemical abortion drugs fail to

qualify.

     First, those drugs do not provide a “therapeutic” benefit.

“Therapeutic” has an ordinary meaning relating to the healing of a

disease. FDA.Add.44. Since pregnancy is not a disease, mifepristone

cannot be therapeutic.

     Second, whatever their efficacy, chemical abortion drugs do not

provide a benefit over “existing treatments”—i.e., surgical abortions.

Compared to surgical abortion, chemical abortion drugs have potential

serious and life-threatening adverse effects on women and girls.

Chemical abortion drugs are 50% more likely to result in an emergency

room visit within 30 days than surgical abortion. FDA.Add.45. The

overall incident of adverse events is “fourfold higher” in chemical

abortions. Id. And chemical abortion patients “reported significantly

higher levels of pain, nausea, vomiting and diarrhea during the actual

abortion than did surgical patients.” Id. at 45–46. “Post-abortion pain

occurred in 77.1% of mifepristone patients compared with only 10.5% of

surgical patients.” Id. at 46.




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     Before the 2000 Approval, an FDA medical officer conceded that

chemical abortion drugs have “more adverse events, particularly

bleeding, than did surgical abortion.” FDA.Add.46. That same officer

noted that “[f]ailure rates” for chemical abortion drugs “exceeded those

for surgical abortion.” Id.

     The FDA argued in 2000 and again today that the chemical

abortion drugs have the benefit of avoiding “a surgical procedure.”

FDA.Add.105; FDA.Mot.20. That logic is circular. “By defining the

‘therapeutic benefit’ solely as the avoidance of the current standard of

care’s delivery mechanism, FDA effectively guarantees that a drug will

satisfy this second prong of Subpart H as long as it represents a

different method of therapy.” FDA.Add.45.

           3.    Congress did not cure the FDA’s misapplication
                 of Subpart H.

     Defendants argue that Congress cured these defects in the Food

and Drug Administration Amendments Act. The FDAAA requires FDA

to approve REMS for certain dangerous drugs (including the chemical

abortion drugs). For drugs with safety requirements already in place

before the FDAAA’s effective date, Congress “deemed” those preexisting

safety requirements to be a sufficient REMS until a new REMS was


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approved. Defendants maintain that this effectively adopted FDA’s

approval of chemical abortion drugs.

     Congress did no such thing. The FDAAA created a new regulatory

framework for dangerous drugs. To help ease the regulatory transition,

Congress deemed prior safeguards for dangerous drugs generally

adequate—but only until FDA could comply with the new regulatory

guidelines. This grace period says nothing about the specific approval

for chemical abortion drugs.


     B.    The FDA also violated the FDCA.

     The 2000 Approval, 2016 Major Changes, 2021 Non-Enforcement

Decision, and 2021 Petition Response all violated the Food, Drug, and

Cosmetic Act. The FDCA demands that FDA reject any NDA if there is

not substantial evidence, adequate tests, and sufficient information

demonstrating the safety and effectiveness of a drug “for use under the

conditions prescribed, recommended, or suggested in the proposed

labeling.” 21 U.S.C. § 355(d) (emphasis added).

     To start, FDA approved mifepristone’s NDA without a clinical

investigation evaluating the safety and effectiveness of chemical

abortion drugs under the conditions of use in the proposed labeling.


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FDA.Add.111–13, 162–64. The clinical trials that FDA relied on in its

2000 Approval used crucial safeguards—such as ultrasounds to confirm

gestational age and to exclude ectopic pregnancies—that FDA omitted

from the approved label. Id. So not a single study or trial evaluated the

actual label that FDA approved. FDA.Add.162–64; 21 C.F.R. § 312.21

(“Phase 3 studies … are intended … to provide an adequate basis for

physician labeling.”); Glossary, Weill Cornell Medicine,

https://research.weill.cornell.edu/compliance/human-subjects-

research/institutional-review-board/glossary-faqs-medical-terms-lay-3

(last visited Feb. 23, 2023) (“In Phase 3 studies, the drug is used the

way it would be administered when marketed.”).

     These omitted safeguards matter. If a woman with an ectopic

pregnancy takes mifepristone, she could interpret warning signs like

cramping and severe bleeding as mere side effects from mifepristone,

when in reality her “life is in danger.” FDA.Add.53. Yet FDA did not

impose an ultrasound requirement in its final approval. That violated

the FDCA.

     The 2016 Major Changes suffered from similar pitfalls. With these

changes, FDA eliminated crucial safeguards. Yet not one study



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evaluated the safety and effectiveness of chemical abortion drugs under

the new regimen. FDA.Add.122–124, 170–71. Rather, the only data

FDA relied on featured the very safeguards omitted. FDA.Add.59.

Worse, FDA “shirked any responsibility for the consequences of its

actions by eliminating any requirement that non-fatal adverse events

be reported.” Id. This action effectively gives FDA cover to tout its

regimen as “safe.” E.g., FDA.Mot.14–15. The FDA’s 2021 Non-

Enforcement Decision and 2021 Petition Response, for instance, relied

heavily on FDA’s Adverse Event Reporting System (FAERS). Given that

FDA abandoned reporting requirements for nonfatal adverse events,

this was stacking the deck. And such chicanery cannot constitute

reasoned decision-making.

     Defendants contend that these decisions were within the agency’s

discretion. FDA.Mot.17. But whatever discretion is afforded FDA, it

cannot continually fail to “cogently explain” why it deviated from

safeguards in place in the clinical trials it evaluated. A.L. Pharma, Inc.

v. Shalala, 62 F.3d 1484, 1491 (D.C. Cir. 1995). This Court need not

defer to FDA’s lawless actions.




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     C.    The FDA’s actions violate longstanding federal
           criminal laws.

     The Comstock Act prohibits the mailing or delivery of “[e]very

article or thing designed, adapted, or intended for producing abortion”

and “[e]very article … which is advertised or described in a manner

calculated to lead another to use or apply it for producing abortion.” 18

U.S.C. §§ 1461–62.

     Both FDA’s 2000 Approval and 2016 Major Changes ignored these

laws. FDA.Add.107, 122. Moreover, the 2021 Non-Enforcement Decision

and 2021 Petition Response went further by authorizing the mailing of

chemical abortion drugs. The district court correctly found that

“Defendants’ decision to allow the dispensing of chemical abortion drugs

through mail violates unambiguous federal criminal law.” FDA.Add.38.

By violating the Comstock Act, FDA also violated the APA, which

requires federal agencies to follow all laws. FCC v. NextWave Pers.

Commc’ns Inc., 537 U.S. 293, 300 (2003).

     Defendants’ scattershot defenses fail. First, they contend that the

FDCA requires FDA to assess only safety and effectiveness, not the

Comstock Act. But the APA requires agencies to follow “any law, and




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not merely those laws that the agency itself is charged with

administering.” Id.

      Second, Defendants say that historically the Comstock Act “never

prohibited the distribution of abortion drugs for lawful uses.”

FDA.Mot.23 (emphasis added). But the Comstock Act’s text controls

over any such history.4 N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S.

Ct. 2111, 2137 (2022). When FDA acted, the Comstock Act plainly

prohibited the mailing of chemical abortion drugs. “Defendants cannot

immunize the illegality of their actions by pointing to a small window in

the past where those actions might have been legal.” FDA.Add.38.

      Defendants also say Congress implicitly repealed the Comstock

Act. But “repeals by implication are not favored,” and exist only when

“Congress’ intention to repeal is clear and manifest.” Me. Cmty. Health

Options v. United States, 140 S. Ct. 1308, 1323 (2020) (cleaned up). For

the same reasons that the FDAAA did not cure the 2000 Approval’s

deficiencies, it did not silently repeal the Comstock Act. And the meager

floor statements that Defendants point to do not amount to a “clear and



4And as the district court rightly noted, this Court should be skeptical of the
Defendants’ newfound history. Until Roe, most jurisdictions overwhelmingly made
abortions illegal. FDA.Add.37–38.

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manifest” intent. If anything, these statements show the opposite,

calling into question the legality and danger of mifepristone’s original

approval. 153 Cong. Rec. S5759, 5765 (daily ed. May 9, 2007); 153 Cong.

Rec. S5444, 5469 (daily ed. May 2, 2007).

     Finally, Defendants argue that “when all the FDA action occurred,

Roe v. Wade was governing law making the Comstock Act constitu-

tionally unenforceable.” Danco.Mot.12. But “Roe did not prohibit all

restrictions on abortions.” FDA.Add.38. Surgical abortions were readily

available and no court had found that a prohibition on mailing chemical

abortion drugs constituted an “undue burden” on abortion overall.


III. The equitable factors weigh decisively against an appellate
     stay.

     1. Defendants cannot demonstrate irreparable injury caused by

their own failure to follow the law. “[S]elf-inflicted wounds are not

irreparable injury.” Texas v. Biden, 10 F.4th 538, 558 (5th Cir. 2021)

(per curiam) (citation omitted), rev’d and remanded on other grounds,

142 S. Ct. 2528 (2022). “The doctrine of ‘unclean hands’ [similarly]

allows a court to refuse to grant equitable relief sought by one whose

conduct in connection with the same matter or transaction has violated



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the principles of equity and righteous dealing.” Binh Hoa Le v. Exeter

Fin. Corp., 990 F.3d 410, 416 (5th Cir. 2021) (cleaned up).

     In any event, Defendants’ asserted harms do not justify a stay.

FDA insists that the district court’s order harms women. FDA.Mot.25–

26. But as noted above and below, the harm runs the opposite way—

chemical abortions cause greater harm to women than alternatives.

     In a post-hoc justification, FDA claims that mifepristone can

sometimes be used as an alternative for miscarriage management.

FDA.Mot.26. But that off-label use is not at issue in this case. In any

event, FDA itself has rejected miscarriage management as a new

indication for mifepristone. FDA, Agency Response Letter to ACOG,

(Jan. 3, 2023), https://perma.cc/24HJ-K6SF.

     Danco claims economic harm if it cannot distribute mifepristone.

Danco.Mot.18–19. But Danco has been complicit in FDA’s unlawful

actions at issue in this case since the beginning. Danco and its allies

pressured FDA not to require ultrasounds as part of the 2000 Approval.

Alliance.Add.115–21. It was Danco that lobbied FDA to remove several

crucial safeguards and completely revise the regimen in the 2016 Major

Changes. Alliance.Add.122–50. Danco also continues to distribute



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chemical abortion drugs in violation of the Comstock Act. And any

economic harm to a company that has financially benefitted from its

own unlawful behavior is far outweighed by the harms to women and

their doctors.

     2. The district court found numerous irreparable harms that

mifepristone causes women and Plaintiffs who represent them, and

those findings warrant deference. As noted, chemical abortions increase

exponentially the number of emergency room visits and adverse events

compared to surgical abortions, including “higher rates of hemorrhag-

ing, incomplete abortion,” “unplanned surgical evacuation,” “pain,

nausea, vomiting and diarrhea.” FDA.Add.45–47; accord Charlotte

Lozier Amicus.Br. 15–19, Dist.Ct.ECF103 (collecting studies). All this,

even though FDA “systematically” concealed mifepristone’s true harms

by eliminating reporting for all non-lethal complications. FDA.Add.59.

     There are also serious mental health impacts unique to chemical

abortions. FDA.Add.46. Unlike surgical abortions, “a mother sees the

remains of her aborted child. These factors add to the psychological pain

that is unique to medication abortion,” a pain compounded by the

reality that “women are often alone when they experience the effects of



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the medication abortion,” isolated even “from in-person physician

interaction.” Human Coalition.Amicus.Br.19–22, Dist.Ct.ECF.51-1

(citing medical studies and collecting women’s stories when, following a

chemical abortion, they saw their intact, fully formed babies dead and

covered in blood). And it is well documented that human sex traffickers

use chemical abortions to coerce and force women to have abortions. Id.

at 22–25.

     Like their patients, Plaintiffs will also endure irreparable harm.

These medical associations and doctors will continue to spend their

limited time, energy, and resources dealing with the tragic effects of

these dangerous drugs, and suffer spiritual and emotional distress from

these tragic events. FDA.Add.147–159.

     3. Finally, the balance of harms and the public interest weigh

decisively against an appellate stay. To begin, “the public interest

weighs strongly in favor of preventing unsafe drugs from entering the

market.” Hill Dermaceuticals, Inc. v. FDA, 524 F. Supp. 2d 5, 12 (D.D.C.

2007). “[T]here is generally no public interest in the perpetuation of

unlawful agency action.” Louisiana v. Biden, 55 F.4th 1017, 1035 (5th

Cir. 2022) (citation omitted). Allowing illegal actions by government



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agencies to stand “undermine[s]” the public interest. Valley v. Rapides

Par. Sch. Bd., 118 F.3d 1047, 1056 (5th Cir. 1997) (emphasis added).

Indeed, “there is a substantial public interest in having governmental

agencies abide by the federal laws that govern their existence and

operations.” Texas, 40 F.4th at 229 (cleaned up). And that’s before

considering the additional physical and emotional trauma that chemical

abortion drugs inflict on women or the irreparable mental, monetary,

and temporal harms the district court recognized Plaintiff doctors and

medical associations will continue to suffer. FDA.Add.61–62. These

harms substantially outweigh any supposed economic interests or other

harms Defendants assert.




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                              CONCLUSION
     The Court should deny Defendants’ motion for stay pending

appeal.

     Respectfully submitted,
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Dated: April 11, 2023
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                    CERTIFICATE OF SERVICE

     I hereby certify that on April 11, 2023, I electronically filed the

foregoing response in opposition with the Clerk of the Court for the

United States Court of Appeals for the Fifth Circuit by using the

appellate CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the

CM/ECF system.



                              s/Erik C. Baptist
                              Erik C. Baptist

                       Counsel for Plaintiffs-Appellees




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